                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                              Case No. 05-CR-213

KENNETH BEVERLY
              Defendant.


                                          ORDER

      Defendant Kenneth Beverly seeks re-sentencing pursuant to 18 U.S.C. § 3582(c)(2)

based on the Sentencing Commission’s recent amendments to the crack and criminal history

sentencing guidelines. However, eligibility for consideration under 18 U.S.C. § 3582(c)(2) is

triggered only by an amendment listed in U.S.S.G. § 1B1.10(c) that lowers the applicable

guideline range. U.S.S.G. § 1B1.10 cmt. n.1. The Sentencing Commission has not yet

determined whether the new guidelines will be applied retroactively under § 1B1.10(c).

Defendant’s motion is thus pre-mature.

      THEREFORE, IT IS ORDERED that defendant’s motion (R. 224) is DENIED without

prejudice.

      Dated at Milwaukee, Wisconsin, this 28th day of November, 2007.


                                         /s Lynn Adelman
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                                         LYNN ADELMAN
                                         District Judge




    Case 2:05-cr-00213-LA      Filed 11/28/07    Page 1 of 1   Document 226
